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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11   URBAN THERAPIES                                        Case No.: 23-CV-1924 TWR (AHG)
     MANUFACTURING, LLC, a California
12
     limited liability company,                             ORDER APPROVING JOINT
13                                         Plaintiff,       STIPULATION OF DISMISSAL;
                                                            DENYING AS MOOT PROPOSED
14   v.                                                     INTERVENOR DEFENDANT
15                                                          INTERNATIONAL
     NICOLE ELLIOT in Her Official
                                                            BROTHERHOOD OF TEAMSTERS’
16   Capacity As Director of the State of
                                                            MOTION TO INTERVENE;
     California’s Department of Cannabis
17                                                          DENYING AS MOOT
     Control; ROBERT BONTA in His
                                                            DEFENDANTS’ MOTION TO
18   Official Capacity As Attorney General of
                                                            DISMISS
     the State of California; DOES 1–10,
19
     inclusive,
                                                            (ECF Nos. 13, 16, 20)
20                                      Defendants.
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22          Presently before the Court is the Plaintiff Urban Therapies Manufacturing, LLC and
23   Defendants Nicole Elliott, Director of California’s Department of Cannabis Control, and
24   Rob Bonta’s1, California Attorney General, Stipulation for Dismissal With and Without
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            Defendants represent that Defendant Attorney General Rob Bonta has been sued erroneously as
     “Robert Bonta” and that Defendant Nicole Elliott has been sued erroneously as “Nicole Elliot.” (ECF
28   No. 11 at 2 n.1.)

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                                                                                    23-CV-1924 TWR (AHG)
 1   Prejudice (ECF No. 20, “Joint Stip.”), Proposed Intervenor Defendant International
 2   Brotherhood of Teamsters’ (“IBT”) Motion to Intervene (ECF No. 13, “Mot. Intervene”),
 3   and Defendants’ Motion to Dismiss (ECF No. 16, “Mot. Dismiss.”).               In the Joint
 4   Stipulation, which the Court construes as a joint motion under Civil Local Rule 7.2(b), the
 5   Parties stipulate to dismissal of the claims against Nicole Elliott without prejudice and to
 6   dismissal of the claims against Rob Bonta with prejudice. (Joint Stip. at 1.) Good cause
 7   appearing, the Court APPROVES the Joint Stipulation and DISMISSES WITHOUT
 8   PREJUDICE Plaintiff’s claims against Defendant Nicole Elliott and DISMISSES WITH
 9   PREJUDICE Plaintiff’s claims against Defendant Rob Bonta. In light of the Joint
10   Stipulation, IBT’s Motion to Intervene and Defendants’ Motion to Dismiss are DENIED
11   AS MOOT. The Clerk of the Court SHALL CLOSE the case.
12         IT IS SO ORDERED.
13   Dated: February 6, 2024
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15                                               Honorable Todd W. Robinson
                                                 United States District Judge
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